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 1
 2                        UNITED STATES DISTRICT COURT
 3                      EASTERN DISTRICT OF WASHIGNTON
 4
 5   UNITED STATES OF AMERICA,                      No. 2:17-CR-00101-WFN-5
 6
 7                      Plaintiff,                  ORDER MODIFYING PRETRIAL
                                                    RELEASE CONDITIONS
 8                       v.
 9   FEDERICO RAMOS-PEREZ,
10
11                      Defendant.
12         Before the Court is Defendant’s Motion to Modify Release Conditions. ECF
13   No. 596. Specifically, Defendant asks to be relieved of the requirement of home
14   detention, which is presently included in Condition of Release Number 28. ECF
15   No. 234
16         Defendant recites that neither the U.S. Attorney’s Office nor the U.S.
17   Probation Office object to the modification. However, Defendant further recites
18   that U.S. Probation Officer Erik Carlson requests that Defendant be placed on GPS
19   monitoring if the home detention condition is removed.
20         IT IS HEREBY ORDERED that Defendant’s Motion, ECF No. 596, is
21   GRANTED. Defendant is no longer subject to home detention.
22         Defendant’s pretrial release conditions and Condition No. 28 are
23   MODIFIED to require electronic monitoring as set forth below.
24
25          HOME CONFINEMENT/ELECTRONIC/GPS MONITORING
26   (28) Defendant shall participate in one or more of the following home confinement
27        program(s):
28

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 1         Electronic Monitoring: The Defendant shall participate in a program of
           electronically monitored home confinement. The Defendant shall wear, at all
 2         times, an electronic monitoring device under the supervision of U.S.
 3         Probation. In the event the Defendant does not respond to electronic
           monitoring or cannot be found, the U.S. Probation Office shall forthwith
 4         notify the United States Marshals’ Service, who shall immediately find, arrest
 5         and detain the Defendant. The Defendant shall pay all or part of the cost of
           the program based upon ability to pay as determined by the U.S. Probation
 6
           Office.
 7
 8         OR

 9         GPS Monitoring: The Defendant shall participate in a program of GPS
10         confinement. The Defendant shall wear, at all times, a GPS device under the
           supervision of U.S. Probation. In the event the Defendant does not respond
11         to GPS monitoring or cannot be found, the U.S. Probation Office shall
12         forthwith notify the United States Marshals’ Service, who shall immediately
           find, arrest and detain the Defendant. The Defendant shall pay all or part of
13
           the cost of the program based upon ability to pay as determined by the U.S.
14         Probation Office.
15
     All other conditions not inconsistent herewith remain in full force and effect.
16
           IT IS SO ORDERED.
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           DATED November 27, 2017.
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                                  _____________________________________
20                                          JOHN T. RODGERS
21                                 UNITED STATES MAGISTRATE JUDGE
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